859 F.2d 149Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bernard CRAWFORD, Plaintiff-Appellant,v.Carrol A. CAMPBELL, William D. Leeke, T. Travis Medlock,Laurie Bessinger, Allen C. Pate, Defendants-Appellees.
    No. 87-7389.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1988.Decided Sept. 14, 1988.
    
      Bernard Crawford, appellant pro se.
      Before WIDENER and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Bernard Crawford appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Crawford v. Campbell, C/A No. 87-2612 (D.S.C. Oct. 22, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    